Case 1:17-cv-12468-LTS Document 12 Filed 04/04/18 Page 1 of 1

AO 399 (()1/09) Wai\'er of the Serviee ofSuminons

UNITED STATES DisTRiCT CoURT

for the
District of l\/lassachusetts

,Mamite,,\/entute§,LP,, ,
P/ai`nti`_ff
V.
i,,,,M§t_\/_" COFP,-,@/,Q/§EYNET),€_f_a|-_,,,, , ,1, ,,
Defena’ant

Civil Action No. 17-Cv-‘|2468-LTS

V\_/\_/vv

WAIVER OF THE SERVICE OF SUMMONS

T<>r ,,Val@ntin GMLS,,§Q$!QQ,,L@W G§Q,up PC,,,,

 

(Name of the plaintiffs attorney or unrepresented p/rii`nti/j')

l have received your request to waive service of a summons in this action along with a copy of the complaint.
two copies of this waiver f`orm. and a prepaid means of returning one signed copy of the form to you.

l, or the entity l represent agree to save the expense of serving a summons and complaint in this case.

l understand that I. or the entity l represent. will keep all defenses or objections to the lawsuit the couit`s
jurisdiction, and the venue of the action. but that l waive any objections to the absence of a summons or of service.

l also understand that l, or the entity l represent, must file and serve an answer or a motion under Rule 12 within
,60 days from 03/23/2018 , the date when this request was sent (or 90 days if it was sent outside the

United States). lf l fail to do so, a defaultijudgment will be entered against me or the entity l represent.i_

Signature i)f the attorney or unrepresented pci/'I_i'

    

Dat€i ,,,,,1@§/,23*/291§,1,,,

,, ,, ,, ,_N_a_talta Vil<thQ,,\/,a,1,,, 111 ,,Qa\,/,td§;,,hl$t@n
Prinled name of pal'(\’ waiving service of summons Printed name
Lewis Baach Kaufmann l\/|idd|emiss p||c
405 Lexington Avenue, 62nd F|oor
,N§W,,YPF"'~,NYF 01 74

¢lcfdress

david.|iston@¢|bl§nilavv.coni

E-mai/ address

, ,, 11 1212) 322:9,160

Te/ep/ir)ne number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 ofthe Federal Rules of(`ivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofser\ ing a summons
and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service. unless the defendant shows good cause for the failure.

l _ _"(_iood cause" does not include a beliefthat the lawsuit is groundless. or that it has been brought in an improper venue. or that the court has
no jurisdiction over this matter or over the defendant or the defendants property.

lt`the waiver is signed and returned. you can still make these and all other defenses and objections hut you cannot object to the absence of
a summons or of service.

v lf`you waive service. then you niust. within the time specified on the waiver f`onn. serve an answer or a motion under Rule |2 on the plaintiff
and file a copy with the court By signing and returning the waiver form. you are allowed more tiine to respond than if`a summons had been ser\ ed.

